Exhibit J
Dear Honorable Judge Román,

        My name is Ryan Liebermann, I am currently employed by NYSDOCCS as a
corrections officer and have been a close friend of Aaron Finn for over 10 years. When i
first met Aaron it became quite clear that he is someone that you can count on and call a
friend, if ever i needed help with anything he was just a phone call away, whether it was car
troubles, help clearing trees and doing yardwork or just needing a friend he is there within
a moments notice. This is just a small notion of the type of selfless attitude Aaron shows to
his family and friends, puitting others needs before his own. An example of this is the
dedication I have seen him show to his parents. Every day he is helping them and caring for
them., whether its making sure their home is in top shape, taking his father to medical
appointments or just being a loving son who is there for his parents.

  During the onset of the Covid19 pandemic My wife and I had to cancel our wedding, in
doing so we decided to have a small ceremony in our backyard with just two witnesses and
our officiant. Aaron and his wife stood by our side as our witnesses and shared in an
otherwise somber day knowing we couldnt share this moment with any of our other
friends and family. Aaron truly made us feel loved and helped share in our celebration,

In October of 2019 Aaron was involved in an incident at work where he was stabbed in the
neck, allthough i was not present for the incident, it had an obvious change on Aaron, he
was withdrawn, quiet and generally not himself. I am not sure of the exact date upon which
Aaron returned to work after that incident but to many of us it seemed too soon after
enduring such a traumatic experience. When asked why he was back so soon the answer
was of course "My family needs me, I have to work". This is just another example of Aaron
putting others before himself.

Aaron has been a close friend of mine for a long time, and in that time I have witnessed his
selflessness, dedication and honor to his friends and family shine through everything else
he has endured. He has run a successful business, worked long days of manual labor and
created something he can call his own. He is now a father to a young child and i know he
will do everything within his power to provide for his wife and child.

Respectfully,

Ryan J. Liebermann

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